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 7 WELLS FARGO BANK, N.A.
   (erroneously sued as WELLS FARGO & COMPANY),
 8 CHARLES W. SCHARF, and MICHAEL P. SANTOMASSIMO

 9

10                                      UNITED STATES DISTRICT COURT

11                                    NORTHERN DISTRICT OF CALIFORNIA

12 KIMBERLY BRYANT, an individual,                          Case No. 4:22-cv-04643-JST

13                      Plaintiff,                          Hon. Jon S. Tigar

14             vs.                                          STIPULATION TO EXTEND TIME PER
                                                            CIV. L.R. 6-1
15 BLACK GIRLS CODE, a California Non-
   Profit Public Benefit Corporation; HEATHER               Action Filed: August 11, 2022
16 HILES, an individual; STACY BROWN-                       FAC Filed: February 24, 2023
   PHILPOT, an individual; SHERMAN                          Trial Date:   None Set
17 WHITES, an individual; SOFIA
   MOHAMMED; WELLS FARGO &
18 COMPANY; CHARLES W. SCHARF;
   MICHAEL P. SANTOMASSIMO; and DOES
19 1 – 50, inclusive.

20                      Defendants.

21

22            Plaintiff Kimberly Bryant (“Plaintiff”) and Defendant Wells Fargo Bank, N.A. (“Wells

23 Fargo”) (Plaintiff and Wells Fargo are referred to as “the Parties”), respectfully submit the

24 following Stipulation to extend time in this case pursuant to Civ. L.R. 6.1:

25                                                 STIPULATION

26            WHEREAS, Plaintiff filed her Complaint on August 11, 2022,

27            WHEREAS, Plaintiff filed her First Amended Complaint on February 24, 2023,

28            WHEREAS, Wells Fargo was served with the Summons and First Amended Complaint on


     07685.2832/16463291.1
                                     STIPULATION TO EXTEND TIME PER CIV. L.R. 6-1
           Case 4:22-cv-04643-JST Document 15 Filed 05/05/23 Page 2 of 3




 1 April 21, 2023,

 2            WHEREAS, Wells Fargo’s deadline to respond to the First Amended Complaint is

 3 currently March 12, 2023,

 4            WHEREAS, Plaintiff has served counsel for Well Fargo with “Notices of

 5 Acknowledgment of Service of the Summons and of the Complaint” for co-defendants Charles W.

 6 Scharf and Michael P. Santomassimo on May 4, 2023,

 7            WHEREAS, counsel for Scharf and Santomassimo has signed and returned the “Notices”

 8 on May 5, 2023,

 9            WHEREAS, Scharf and Santomassimo’s deadline to respond to the First Amended

10 Complaint is currently July 5, 2023,

11            WHEREAS, Plaintiff is also actively working on a settlement with the non-Wells Fargo

12 defendants and is interested in exploring settlement with Wells Fargo,

13            WHEREAS, Plaintiff has agreed to extend Wells Fargo’s deadline to respond to the First

14 Amended Complaint to July 5, 2023, in order to coordinate the response deadline for the Wells

15 Fargo defendants and to allow the parties time to explore settlement

16            WHEREAS, the change in the deadline for Wells Fargo to respond to the First Amended

17 Complaint will not alter the date of any event or any deadline already fixed by the Court, local

18 rules, or the Federal Rules of Civil Procedure.

19            THEREFORE, the parties stipulate as follows:

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     07685.2832/16463291.1                           2
                               STIPULATION TO EXTEND TIME PER CIV. L.R. 6-1
          Case 4:22-cv-04643-JST Document 15 Filed 05/05/23 Page 3 of 3




 1                                               STIPULATION

 2            1.        The deadline for Wells Fargo, Scharf, and Santomassimo to respond to the First

 3 Amended Complaint shall be July 5, 2023.

 4            2.        The change in the deadline for Wells Fargo to respond to the First Amended

 5 Complaint will not alter the date of any event or any deadline already fixed by the Court, local

 6 rules, or the Federal Rules of Civil Procedure.

 7            IT IS SO STIPULATED.

 8

 9 DATED: May 5, 2023                             SEVERSON & WERSON
                                                  A Professional Corporation
10

11                                                By:                   /s/ Mark Wraight
12                                                                         Mark Wraight

13                                                Attorneys for Defendants WELLS FARGO BANK,
                                                  N.A. (erroneously sued as WELLS FARGO &
14                                                COMPANY), CHARLES W. SCHARF, and
                                                  MICHAEL P. SANTOMASSIMO
15

16 DATED: May 5, 2023                             Law Offices of Bonner & Bonner
17

18                                                By:                 /s/ Charles A. Bonner
                                                                         Charles A. Bonner
19                                                                       Adam Cabral Bonner
20
                                                  Attorneys for Plaintiff KIMBERLY BRYANT
21

22            I, Mark Wraight, am the ECF user whose ID and password are being used to file this
23 document. I hereby attest that the signatory above has concurred with this filing.

24
                                                                                  /s/ Mark Wraight
25                                                                                  Mark Wraight
26
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     07685.2832/16463291.1                               3
                                  STIPULATION TO EXTEND TIME PER CIV. L.R. 6-1
